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                            MIDDLE DISTRICT OF FLORIDA    u        28 PH 3.. 31
                                ORLANDO DIVISION          CS DI'-> Tf\! CT COURT
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 BALFOUR BEATTY
 INFRASTRUCTURE, INC. a
 De laware company,                                Miscell aneo us Action No.:u :1l1mc '52-0l"l -'31l11.H~

         Plainti ff/Cou nterclaim

 Defendant,                                        Court of Origin:
                                                   United Stales District Court, Northern District
 V.                                                of Cali fornia, San Francisco Division
                                                   Case No. 3: 16-cv-01152-WHO
 PB&A, INC. , a California company,

         Defendant/Counterclaimant.




              DEFENDANT/COUNTERCLAIMANT PB&A, INC.' S
            MOTION TO COMPEL NON-PARTY MARTIN HILD, P.A.
                      TO PRODUCE DOCUMENTS

        Defendant/Counterclaimant Pl aintiff PB&A, Inc. (" PB &A") moves this Court for an

order compelling non-party law firm Mmtin Hild , P.A. ("Marti n Hild") to respond fully to

document requests pursuant to a Rule 45 subpoena duces tecum served upon Martin Hild on

Jul y 26, 20 16. This motion is made pursuant to Fed. R. Civ. P. 37 and 45. PB&A's motion

will be based on thi s Notice, the Memorandum of Points and Auth orities provided here in , the

exhibits attached hereto, the records and papers on fil e w ith this Cou rt , and upon other o ral

and documentar y evidence as may be permitted at the hearin g o n this motion.

                   l\1EMORANDUM OF POINTS AND AUTHORITIES

                       STATEl\1ENT OF ISSUES TO BE DECIDED

        Whether the Court should compel non-party Jaw firm Ma11in Hild, which previous ly

solicited and received assistance fro m PB &A in conjunction w ith the firm 's defense of
Plaintiff Balfour Beatty Infrastructure, Inc. ("BBII") in prior proceedings arising out of the

same project and seeking the same damages at issue here, to comply with six document

requests served upon Martin Hild by Rule 45 subpoena duces tecum.

                                             INTRODUCTION
         Plaintiff's claims against PB&A involve allegations of professional negligence in

connection with structural engineering design work PB&A performed for Plaintiff on the

Transbay Transit Center construction project ("the Project") in San Francisco, California.

Plaintiff alleges that PB&A's designs for certain interior bracing and for a temporary

construction access trestle failed to satisfy PB&A's standard of care. In earlier proceedings

seeking the same damages, BBII, through its counsel Martin Hild, took the diametrically
                                                                               1
opposite position that PB&A's designs met the standard of care.                    In the course of the prior

proceedings, law firm Martin Hild, and specifically lead counsel Gregory Martin ("Attorney

Martin"), solicited the participation of PB&A without any advisement that PB&A should

seek independent counsel, or warning that Plaintiff may subsequently sue PB&A on the same

damages. Attorney Martin met with, emailed with, and advised PB&A about the prior

proceedings and about positions taken on behalf of Plaintiff and derivatively PB&A, and

otherwise acted such that PB&A perceived Attorney Martin as acting as counsel to PB&A

and in PB&A' s best interest.

         PB&A intends to argue that BBII should be judicially estopped from pursuing its

professional negligence claims against PB&A in this case because BBII argued in previous

litigation that PB&A' s designs met the standard of care and collected a multi-million

settlement in BBII's favor. The factors courts consider when determining whether a party is

estopped from taking a position are: (1) whether the party's current position is clearly


1 See First Amended Cross-Complaint filed by BBII, DND Construction, a California Joiflf Venture v. Balfour
Beatty Infrastructure, Inc. et al. San Francisco Superior Court Case No. I 2-525388 (filed Jan. 9, 2013 ), attached
hereto as Exhibit A.




                                                        2
inconsistent with its earlier position, (2) whether the party persuaded a court to accept that

earlier position, and (3) whether the party seeking to assert an inconsistent position would

derive an unfair advantage or impose an unfair detriment on the opposing party if not

estopped. New Hampshire v. Maine, 532 U.S. 742, 750-51 (2001).

       PB&A's six document requests to Martin Hild bear on all three of those factors, in

particular the third factor because the Martin Hild firm interacted directly with PB&A and

solicited information and support in a joint prosecution of BBII' s claims, yet never advised

PB&A to seek independent counsel, nor warned PB&A that BBII might subsequently sue

PB&A if BBII did not recover all of its damages. As a result, PB&A was lulled into acting

to BBII's benefit and to PB&A 'sown detriment.

       Despite Martin Hild's solicitation of PB&A's expert advice in preparing BBII's case

for the ORB proceeding, the Northern District of California's recognition that PB&A may be

entitled to judicial estoppel based upon this fact, and the obvious relevance of the documents

to this doctrine, Martin Hild has refused to produce any of the documents at issue.

                                FACTUAL BACKGROUND
       On October 23, 2012, subcontractor DND Construction ("DND") filed a suit in

California state court seeking damages for unpaid construction services arising out of the

construction of the CDSM wall for the Project: DND Construction, a California Joint

Venture v. Balfour Beatty Infrastructure, Inc. et al. San Francisco Superior Court Case No.

12-525388 ("DND State Court Action"). The DND State Court Action addressed numerous

issues - two of which are relevant in this action: the Cement Deep Soil Mix Wall ("CDSM

Wall") Interior Bracing and the Temporary Construction Access Trestle.

       A. CDSM WALL.
       The Transbay Transit Center Project involved a massive excavation of an area three
city blocks long in downtown San Francisco. Arup North America, Ltd. ("Arup"), one of the




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largest engineering firms in the world, designed the CDSM wall. To sustain the excavation,
BBII engaged PB&A to design interior bracing for the CDSM Wall subject to the overall
design criteria prepared by Arup. 2 Soon after excavation began, the CDSM Wall began to
leak and move, and the parties disputed responsibility for the work related to the repair of the
wall.

        B. TEMPORARY CONSTRUCTION ACCESS TRESTLE.
        The Owner, TJPA, required the design and construction of a temporary access trestle
across the excavation in order to allow large cranes and other construction equipment access
to various locations. PB&A and BBII disputed the Owner's contractual specifications for the
structure's seismic capacity. The Owner demanded redesign and compliance with certain
specifications designed for permanent structures despite the temporary nature of the Access
Trestle. BBII argued that the Owner's demands went beyond what was required- and thus
BBII should not bear responsibility for the additional cost required to meet those demands.

        C. BBil'S POSITION IN THE PRIOR DND STATE COURT ACTION.

        In response to DND's claims against it, on January 9, 2013, BBII asserted cross
claims against the Owner, general contractor, Webcor, and others, arguing that any design
flaws associated with the Interior Bracing or Temporary Access Trestle resulted from acts or
omissions of others - not BBII or its design sub-consultant PB&A. See Ex. A, ':l[C)I 74, 97.
For example, BBII took the position that responsibility for any design flaws in the CDSM
Wall interior bracing system rested with the Engineer of Record for the Project, Arup.
Specifically, BBII alleged that the leaks, cracks and wall movement were caused by Arup's
selection of the type of wall system and Arup's direction in its drawings as to the type of
forces that the wall would be able to withstand. Id. at 'II 97.




2 Comprised   of a mixture of cement and soil, the CDSM wall not only provided temporary support for the 60-
feet-deep excavation during the construc1ion process, but also acted as a receiving surface for a permanent
concrete train box.




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       With respect to the bracing, BBII stood by its excavation plan, which incorporated

PB&A's bracing design: "In accordance with the Trade Subcontract, BBII submitted an

excavation plan that complied with the contract requirements." See Ex. A, «JI 63. With

regard to the Temporary Access Trestle, BBII alleged that PB&A's original trestle design

conformed to the contract and, thus, that the subsequent modifications requested by WOJV

exceeded BBII's obligations and, by extension, PB&A's. See Ex. A, «JI 74.

       Martin Hild hired Vello Koiv and V AK Construction Engineering Services ("YAK")

as a standard of care expert to support BBII's position that PB&A's designs for the bracing

and trestle satisfied the contract and the standard of care. V AK prepared reports in 2013

stating that PB&A complied with the standard of care in its design of the access trestle and

interior bracing system. Exhibits B & C.

       D. Martin Hild Solicits PB&A Participation in DRB Proceeding on BBII's
           Behalf.
       In an effort to seek resolution of the damages in the DND State Court Action, the

parties agreed to submit certain claims to an informal dispute resolution proceeding before

the Dispute Resolution Board, including the claim involving the movement of the CDSM

Wall. In preparation for that proceeding, BBII and its counsel, Martin Hild, solicited the

assistance of PB&A in support of BBII's claims. See Declaration of Pirooz Barar, attached

hereto as Exhibit D, en 2. Key dates/events include:

           Participation in a meeting in mid-September 2013 involving representatives of

           BBII, Attorney Martin, PB&A and BBII's expert Vello Koiv. See Ex. D, en 12 &

           Exhibit E.
           Instruction by Attorney Martin to PB&A not to respond to a document request

           made by the Owner to PB&A directly, but rather to instruct the Owner to direct

           all inquiries to Martin Hild instead. See Ex. D, 'I[ 10 & Exhibit F.




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            Multiple requests to PB&A to meet with Martin Hild attorneys or review and

            comment on draft briefing prepared by Martin Hild for submission to the ORB

            Proceeding. See Ex. D, en 11 & Exhibit G.

            Solicitation and receipt of PB&A' s detailed comments. See Ex. D, en 11 &

            Exhibit H.

            Request that PB&A meet with BBII and its attorneys the day prior to the

            November 13, 2013 ORB proceeding to prepare. See Ex. D, en 13 & Exhibit I.

            See also PB&A invoice reflecting time in pre-ORB meetings and attending ORB,

            attached hereto as Exhibit J.

            Subsequent communications between PB&A and BBII- including Martin Hild-

            regarding a second .. mini-ORB" proceeding. Exhibit K.

In briefing for the ORB, BBII maintained that all design work completed by PB&A met the

applicable standard of care and that any movement or leaks in the COSM Wall derived from

design errors by Arup. See Exhibit L, p. 7 & Exhibit M, p. 1. At no time did Martin Hild

advise PB&A that: (a) Martin Hild was not PB&A's counsel; (b) PB&A should seek

independent counsel; or (c) BBII may consider asserting a claim against PB&A at some later

point in time. See Ex. D, cnen 3, 4, 6. As a result, PB&A reasonably believed that Attorney

Martin and his firm acted on behalf of, and in the best interest of, PB&A during this entire

period. See Ex. D, cnen 5, 7, 8.

       E. BBil'S RECEIPT OF $20MM IN SETTLEMENT AND SUBSEQUENT

            DEMAND TO PB&A.
       The parties to the ONO State Court Action mediated their claims and entered into a

settlement agreement, under which the Owner, general contractor and Arup paid BBII $20

million. $4 million was paid by Arup in connection with its work on the COSM Wall. See

Exhibit N, 'II 2.lb. Even though BBII successfully argued that Arup, not PB&A, bore




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responsibility for the CDSM Wall's design flaws, BBII promptly reversed course after

reaching a settlement and issued a demand to PB&A for an additional $18 million in

damages allegedly incurred out of the same two issues: the interior bracing and the temporary

access trestle. Exhibit 0.

                             PROCEDURAL BACKGROUND
       In an effort to respond to the Northern District of California's June 7 directive to seek

additional discovery in support of PB&A' s judicial estoppel defense, in particular the third

prong of the analysis regarding whether the party seeking to assert an inconsistent position

would derive an unfair advantage or impose an unfair detriment on the opposing party if not

estopped, see New Hampshire v. Maine, 532 U.S. at 750-51, PB&A served a subpoena duces

tecum on Martin Hild seeking communications between the firm and PB&A. See Exhibit P.

On July 1, 2016, Martin Hild made objections to the subpoena. See correspondence from

G. Martin to J. Walker, dated July 1, 2016, attached hereto as Exhibit Q. On July 26, 2016,

to correct a procedural deficiency, PB&A served an amended subpoena, requesting six

categories of documents from Martin Hild. See Exhibit R. On August 3, 2016, Martin Hild

reiterated in a letter its objections to PB&A's document requests, including objections based

on the work-product privilege. See Exhibit S.

          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.0l(G)
       Pursuant to Fed. R. Civ. P. 26(c)(l) and Local Rule 3.0l(g), PB&A certifies that it

has met and conferred in good faith with Martin Hild in writing and telephonically, as further

explained herein and in the exhibits hereto, seeking to resolve the dispute without

intervention by the Court and that attempts to resolve the dispute were unsuccessful.

                                        ARGUMENT
I.     Relevant Authority.
       Under Fed. R. Civ. P. 45(a)(l), any party may serve a subpoena commanding a




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nonparty to "produce designated documents, electronically stored information, or tangible

things in that person's possession, custody, or control." The subpoena is subject to Fed. R.

Civ. P. 26(b), which encompasses "any non-privileged matter that is relevant to any party's

claim or defense and proportional to the needs of the case, considering the importance of the

issues at stake in the action, the amount in controversy, the parties' relative access to relevant

information, the parties' resources, the importance of the discovery in resolving the issues,

and whether the burden or expense of the proposed discovery outweighs its likely benefit.

Information within the scope of discovery need not be admissible in evidence to be

discoverable." Under Rule 45, a person commanded to produce documents may serve a

written objection to the subpoena "before the earlier of the time specified for compliance or

14 days after the subpoena is served." See Fed. R. Civ. P. 45(d)(2)(B).

       Under Rule 37(a)(l), "[o]n notice to other parties and all affected persons, a party

may move for an order compelling disclosure or discovery" but "must include a certification

that the movant has in good faith conferred or attempted to confer with the person or party

failing to make disclosure or discovery in an effort to obtain it without court action." "A

motion for an order to a nonparty must be made in the court where the discovery is or will be

taken." Fed. R. Civ. P. 37(a)(2). Under Local Rule 3.04, a party moving to compel

discovery "shall include quotation in full of each .... request for production to which the

motion is addressed .... and shall be followed immediately by quotation in full of the

objection and grounds therefor as stated by the opposing party," and "immediately followed

by a statement of the reason the motion should be granted."

       Fed. R. Civ. P. 37(a)(5)(A) provides: "If the motion is granted-or if the disclosure or

requested discovery is provided after the motion was filed-the court must, after giving an

opportunity to be heard, require the party or deponent whose conduct necessitated the

motion, the party or attorney advising that conduct, or both to pay the movant's reasonable




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expenses incurred in making the motion, including attorney's fees." "For purposes of this

subdivision (a), an evasive or incomplete disclosure, answer, or response must be treated as a

failure to disclose, answer, or respond." Fed. R. Civ. P. 37(a)(4).

II.      PB&A's Rebuttals to Martin Hild's Objections
         Below are PB&A's six document requests (bolded), Martin Hild's objections

(italicized), and PB&A's rebuttals:

      A. PB&A 's Document Requests, BBil's Objections, and PB&A Responses
         1.     Any and all communications, including electronic communications,
                between Martin Hild on the one hand (including where Martin Hild is a
                copied recipient), and Pirooz Barar, Karen Barar and/or PB&A on the
                other hand prior to August 24, 2015 relating to, referring or discussing
                the Project.
Each of the first three requests seek[s} documents in your client's possession, to the extent

that they exist at all. PB&A is clearly best situated to locate and obtain any documents

which the requests plainly describe as originating from or received by your client, PB&A. It

is wholly unreasonable to request documents from our Fimi which are in the possession of

your client.

         Contrary to Martin Hild's assertion, PB&A does not already possess all documents

sought because, in addition to the routine, contemporaneous deletion of some of the email

exchanges to which Martin Hild and PB&A were both parties, Martin Hild and its client

BBII actively instructed PB&A not to preserve copies of key documents about which they

were seeking comment from PB&A. For example, on October 30, 2013, when Martin Hild

and BBII requested PB&A's feedback on a draft of BBII's position paper for the DRB, they

expressly admonished PB&A to destroy its copy after returning comments: "Attached is a

draft of the DRB position paper for your review, subject to the following: 1) This is for your




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review only - do not distribute this draft to anyone else. 2) After returning with your
comments, please destroy this draft. Do NOT retain a copy. 3) We will provide a copy
of the final version for your records once complete [balded in original]." Exhibit T.
       Establishing the nature and extent of Martin Hild's communications with PB&A is

crucial to understanding the precise nature relationship between the two entities because

Martin Hild was possibly providing legal advice to PB&A as a joint client with BBII in

connection with the DRB. See Ex. D, 'Il 9. Moreover, courts regularly permit discovery from

multiple custodians in possession of imperfectly overlapping sets of documents. That is,

even if some of the documents retained by PB&A do overlap with documents retained by

Martin Hild, the likelihood that Martin Hild has retained different documents than BBII

entitles PB&A to discovery of both sets.

       2.      All documents provided by Martin Hild, or anyone on their behalf, to
               Pirooz Barar, Karen Barar and/or PB&A prior to August 24, 2015
               relating to, referring or discussing the Project.
BBII's objection and PB&A response are the same as explained above for RFP I.

       3.      All documents provided by Pirooz Barar, Karen Barar and/or PB&A to
               Martin Hild prior to August 24, 2015 relating to, referring or discussing
               the Project.
BBII's objection and PB&A response are the same as explained above for RFP 1.

       4.      All non-privileged documents prepared by Martin Hild in connection
               with the DND Action (including the DRB proceeding) and/or the Becho
               Action which referred to, relied upon or discussed the design prepared by
               PB&A in connection with the Project.




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Additionally, the fourth request seeking documents related to the Becho and DND actions

will be addressed in the already pending requests for production served on BBi/, to the

extent such non-privileged documents exist.

        To fully understand the context of Martin Hild's interactions with PB&A and whether

PB&A and BBII were functioning as Martin Hild's joint clients for purposes of the DRB,

PB&A is entitled to Martin Hild's documents regardless of what documents BBII does or

does not provide. See Ex. D, 'II 9. As explained above, even if some of the documents

produced by Martin Hild overlap with documents sought from BBII, the likelihood that

Martin Hild has retained different documents than BBII entitles PB&A to discovery of both

sets.

        5.     Any and all communications, including electronic communications,
               between Martin Hild on the one hand (including where Martin Hild is a
               copied recipient), and VAK on the other hand prior to August 24, 2015
               relating to, referring to or discussing the Project.
The fifth request involving communications between VAK and Martin Hild are objected to on

the grounds that the communications sought are privileged attorney-work product.

        Federal courts have long held that a party's voluntary waiver of privilege with respect

to one document waives any claim to privilege with respect to the entire subject matter. That

rule was codified in 2008 in Federal Rule of Evidence 502, which provides that disclosures in

the context of federal proceedings waive attorney-client and work-product protections if: "( l)

the waiver is intentional, (2) the disclosed and undisclosed communications or information

concern the same subject matter; and (3) they ought in fairness to be considered together."

Fed. R. Evid. 502. Because BBII disclosed VAK's expert report and other documents related

to the DRB proceeding in 2013, prior to this suit, Rule 502 does not directly govern the

instant case. Nevertheless, federal courts regularly look to Rule 502 for guidance when




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confronting extra-judicial disclosures like those of BBII. City of Capitola v. Lexington Ins.

Co., No. 12-3428 LHK PSG, 2013 WL 1087491, at *2 (N.D. Cal. Mar. 13, 2013 ("Although

Fed. R. Evid. 502(a) does not apply because the disclosure occurred prior to the initiation of

the suit, its methodology for determining the scope of waiver is instructive.")

        Under the common law principles codified in Rule 502, BBII's voluntary, selective

disclosures to PB&A are precisely what waiver doctrine has always been designed to

prevent. By voluntarily inviting PB&A to attend its meetings with BBII expert VAK to help

BBII prepare for the DRB and by requesting PB&A's feedback on BBII's position papers,

BBII has clearly waived any claims of privilege it might have had with respect to all of the

subject matter discussed at those meetings and in that paper. See Ex. D, 'Il'Il 11, 12, 13. As

this Court recently reiterated in Century Aluminum Co. v. AGCS Marine Ins. Co., the

principle of subject matter waiver is intended to prevent litigants from using a "disclosed

document as both a shield and a sword, that is, to reveal a limited aspect of privileged

communications in order to gain a tactical advantage in litigation." 285 F.R.D. 468, 472

(N.D. Cal. 2012); see also Hernandez v. Tanninen, 604 F.3d 1095, 1100 (9th Cir.2010)

(disclosure of privileged communications waives protection "as to all other communications

on the same subject matter").

       Martin Hild and BBII should not be allowed to reveal privileged work product to

PB&A when it suited their purposes in 2013 and now, in an effort to gain a tactical advantage

in this litigation, refuse to produce documents relating to the same subject matter. Martin

Hild and BBII must now disclose all of their communications with V AK because they asked

PB&A to assist VAK in preparing BBII's case in the DND action by discussing the details of

PB&A 's designs with V AK. As the Supreme Court memorably explained, a party "can no

more advance the work-product doctrine to sustain a unilateral testimonial use of work-

product materials than he could elect to testify in his own behalf and thereafter assert his




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Fifth Amendment privilege to resist cross-examination on matters reasonably related to those

brought out in direct examination." See United States v. Nobles, 422 U.S. 225, 239-40, 95

S.Ct. 2160, 45 L.Ed.2d 141 (1975).

       6.      Any and all communications, including electronic communications,
               between Martin Hild on the one hand (including where Martin Hild is a
               copied recipient), and Zocon on the other hand prior to August 24, 2015
               relating to, referring to or discussing the Project.
The sixth request for communications between Zocon and Martin Hild are objected to as

unduly burdensome, as the communications can be found by other more reasonable means.

       Martin Hild has not explained why it is any more burdensome for it to produce the

requested documents than it would be for another source to produce them or what a more

reasonable means might be. Zocon Consulting Engineers, Inc. ("Zocon") was the peer

reviewer for PB&A's design of the access trestle, and BBII asked for Zocon's assistance in

preparing its case in the DND litigation. PB&A is entitled to documents illuminating the

relationships among Martin Hild, BBII, and Zocon as well. Understanding Martin Hild's

interactions with Zocon throughout the DND proceedings and, in particular, the positions that

BBII assumed with respect to Zocon's involvement is important for the very reasons BBII

provided to the ORB: Zocon's input into and approval of PB&A's designs constitutes strong

evidence that those designs met the contractual obligations and professional standard of care.

Martin Hild's attempt to deprive PB&A of full access to its communications with Zocon

when it previously found it advantageous to collect Zocon, PB&A, and V AK around a single

table is yet another illicit attempt to have it both ways, sharing evidence only to the extent it

serves the purposes of Martin Hild and BBII and depriving PB&A of the evidence required

to develop its judicial estoppel argument.




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                                        CONCLUSION

        In 2013, Martin Hild intentionally brought together various parties with knowledge

about PB&A's designs and design process-PB&A itself, Zocon, BBII, and VAK-in order

to strengthen and refine BBII's defense of those designs before the DND court and the DRB

panel. As a result, the DND proceedings resolved in a favorable settlement for BBII. In fact,

as a part of its settlement agreement, BBII agreed that it was paid in full for all of the work

that it performed. See Ex. K, <JI 13c, p. 14. Although PB&A lacked independent counsel and

was effectively relying on Martin Hild for legal advice about the issues at stake in the DND

action, Martin Hild never advised PB&A that Martin Hild did not represent PB&A or that

PB&A should seek independent counsel. See Ex. D, <JI 3, 4, 9. Instead, as counsel for BBII,

Martin Hild took full advantage of PB&A's unsuspecting cooperation to elicit PB&A's most

candid and unprotected opinions about the very designs that BBII has now made the subject

of a second lawsuit-except, of course, that BBII is now using the evidence collected during

the earlier suit to advocate positions diametrically opposed to what it previously maintained

over the course of several years. See Ex. D, 'll'll 6, 9, 11, 12. Only months after telling the

DND court that "[o]ther lawsuits are not foreseeable at this time," Martin Hild sent a demand

letter to PB&A on BBil's behalf. See Ex. Q.

       Just as Martin Hild's invocation of the attorney work-product privilege embodies

precisely the kind of double-dealing that the waiver doctrine is designed to prevent-

manipulating an opponent's access to privileged information in an attempt to gain an unfair

tactical advantage-so too do does BBil's about-face with respect to PB&A's designs

represent the precise abuse that the doctrine of judicial estoppel is designed to prevent. The

Northern District of California's June 7, 2016 Order has already authorized and encouraged

PB&A to seek the additional discovery needed to support its judicial estoppel argument.

(Exhibit U.) Martin Hild's refusal of that discovery is nothing short of an attempt to deprive




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PB&A of access to the very information that Martin Hild itself once collected in order to

defend PB&A designs. Martin Hild's refusal to provide PB&A access to that same body of

evidence runs counter to the fundamental principles of our adversarial system.

       Even more troubling, though, are Martin Hild's attempts to obscure the nature of its

interactions with PB&A at a time when PB&A lacked the protections that independent

counsel would have afforded. Precisely because BBII was advocating vigorously in favor of

PB&A's designs during the ORB proceedings, PB&A saw no need to seek independent

counsel. Instead, it trusted Martin Hild to defend PB&A' s interests and to make fair use of

the information that PB&A was liberally and unsuspectingly providing. BBII and Martin

Hild repaid PB&A's trust by filing this suit and completely abandoning the factual and legal

positions that they had defended over the course of several years.

       At present, many fundamental questions remain unanswered concerning BBII' s

reversal, including whether Martin Hild was jointly representing PB&A and BBII during the

course of the ORB proceedings. Until Martin Hild complies with PB&A's very limited

document requests and PB&A is able to gain a clearer understanding of exactly what

transpired during the DND State Court Action, those fundamental questions will remain

unanswered and PB&A will remain unable to develop its judicial estoppel defense. This

Court should compel Martin Hild to comply with its discovery obligations under Fed. R. Civ.

P. 26. PB&A further requests an award of expenses and attorneys' fees as mandated by Fed.

R. Civ. P. 37.

       DATED this 27th day of October, 2016.




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     KELLY & WALKER LLC




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     A rtom eys for Defendant/Co1111terclai111 Plaintiff
     PB&A, In c.




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                              CERTIFICATE OF SERVICE


       I hereby certify thal on thi s 27th day of October, 2016, the forego ing

DEFENDANT/ COUNTERCLAIMANT PB&A, INC. 'S MOTION TO
COMPEL NON-PARTY MARTIN HILD, P.A. TO PRODUCE DOCUMENTS
was delivered by Fedex Overni ght addressed ro rhe fo ll ow ing:


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